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 5   Attorneys for Defendant Alex Hernandez

 6
                         UNITED STATES DISTRICT COURT
 7                      EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,       )       CR S CR 07-515-03 WBS
                                     )
10              Plaintiff,           )
                                     )
11   v.                              )       STIPULATION TO CONTINUE SELF-
                                     )       SURRENDER DATE OF MR. HERNANDEZ
12   ALEX HERNANDEZ,                 )       AND [PROPOSED] ORDER THEREON
                                     )
13              Defendant.           )
                                     )
14                                   )
15                                   )

16        IT IS HEREBY STIPULATED by and between the parties that the

17   surrender date for Alex Hernandez, currently set for June 26,
18   2012, be extended by 30 days to July 26, 2012.
19        The reason for this stipulation is that because of Mr.
20
     Hernandez’ son’s autistic condition.              Mr. Hernandez sent a
21
     detailed   request to    the   Bureau     of   Prisons   to   transfer his
22
     designation to a facility closer to Sacramento, that is, from the
23
     federal prison camp at Lompoc, CA, to the federal prison camp at
24
     Atwater, CA.    Although the detailed request was delivered to the
25
     Bureau of Prisons by fax, e-mail, and mail, it has recently come
26
27   to counsel’s attention that the Bureau of Prisons, for whatever

28                                       1
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 1   reason, never received the detailed request.              The request is
 2   being    re-sent   by   Federal   Express,   so   that   delivery   can be
 3   confirmed through tracking, and Bureau of Prisons indicates that
 4
     it will have a decision on the request to transfer within 30
 5
     days.
 6
             IT IS SO STIPULATED.
 7                                            BENJAMIN B. WAGNER
                                              United States Attorney
 8
     DATED: June 22, 2012                  By:/s/Michael M. Beckwith
 9
                                              MICHAEL M. BECKWITH
10                                            Assistant U.S. Attorney

11                                            Attorneys for Plaintiff

12
     DATED: June 22, 2012                  By:/s/David J. Cohen
13                                            DAVID J. COHEN
14                                            Attorneys for Defendant
                                              ALEX HERNANDEZ
15
16
             IT IS SO ORDERED.
17
18
     DATED:    June 22, 2012
19
20
21
22
23
24
25
26
27
28                                        2
